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                                        /s/ Jack Miller, Esquire, for
                                       _____________________________
 Date: December 1, 2020
                                       William C. Miller, Esquire
                                       Chapter 13 Trustee
